Case 19-82531-CRJ11   Doc 66     Filed 11/11/19 Entered 11/11/19 12:22:21   Desc Main
                               Document      Page 1 of 15
Case 19-82531-CRJ11   Doc 66     Filed 11/11/19 Entered 11/11/19 12:22:21   Desc Main
                               Document      Page 2 of 15
Case 19-82531-CRJ11   Doc 66     Filed 11/11/19 Entered 11/11/19 12:22:21   Desc Main
                               Document      Page 3 of 15
Case 19-82531-CRJ11   Doc 66     Filed 11/11/19 Entered 11/11/19 12:22:21   Desc Main
                               Document      Page 4 of 15
Case 19-82531-CRJ11   Doc 66     Filed 11/11/19 Entered 11/11/19 12:22:21   Desc Main
                               Document      Page 5 of 15
Case 19-82531-CRJ11   Doc 66     Filed 11/11/19 Entered 11/11/19 12:22:21   Desc Main
                               Document      Page 6 of 15
Case 19-82531-CRJ11   Doc 66     Filed 11/11/19 Entered 11/11/19 12:22:21   Desc Main
                               Document      Page 7 of 15
Case 19-82531-CRJ11   Doc 66     Filed 11/11/19 Entered 11/11/19 12:22:21   Desc Main
                               Document      Page 8 of 15
Case 19-82531-CRJ11   Doc 66     Filed 11/11/19 Entered 11/11/19 12:22:21   Desc Main
                               Document      Page 9 of 15
Case 19-82531-CRJ11   Doc 66 Filed 11/11/19 Entered 11/11/19 12:22:21   Desc Main
                            Document    Page 10 of 15
Case 19-82531-CRJ11   Doc 66 Filed 11/11/19 Entered 11/11/19 12:22:21   Desc Main
                            Document    Page 11 of 15
Case 19-82531-CRJ11   Doc 66 Filed 11/11/19 Entered 11/11/19 12:22:21   Desc Main
                            Document    Page 12 of 15
Case 19-82531-CRJ11   Doc 66 Filed 11/11/19 Entered 11/11/19 12:22:21   Desc Main
                            Document    Page 13 of 15
Case 19-82531-CRJ11   Doc 66 Filed 11/11/19 Entered 11/11/19 12:22:21   Desc Main
                            Document    Page 14 of 15
Case 19-82531-CRJ11   Doc 66 Filed 11/11/19 Entered 11/11/19 12:22:21   Desc Main
                            Document    Page 15 of 15
